        Case 2:12-cr-00148-KJM Document 106 Filed 10/07/14 Page 1 of 2


 1   DAVID W. DRATMAN
 2   Attorney at Law
     State Bar No. 78764
 3   1007 7th Street, Suite 305
     Sacramento, California 95814
 4
     Telephone: (916) 443-2000
 5   Facsimile: (916) 443-0989
     Email: dwdratman@aol.com
 6

 7   Attorney for Defendant
     LINSEY MOORE
 8

 9
                           IN THE UNITED STATES DISTRICT COURT
10
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
11

12   UNITED STATES OF AMERICA,                                  2:12-CR-148-KJM
13
                                   Plaintiff,                   STIPULATION AND
14                                                              ORDER TO AMEND
                            vs.                                 CONDITIONS OF
15                                                              RELEASE
16   LINSEY MOORE, ET AL.,

17                                 Defendants.
18           IT IS STIPULATED between the United States, through their attorney of record,
19
     Assistant U. S. Attorney Jason Hitt and defendant, Linsey Moore, through her attorney,
20
     David W. Dratman, with the concurrence of U.S. Pretrial Service Officer Renee Basurto,
21

22   that the special conditions of release may be amended to delete the conditions of random
23   drug testing and counseling; and, that the attached Amended Special Conditions of
24
     Release are to be ordered.
25
     Dated: October 6, 2014                      BENJAMIN B. WAGNER
26                                               UNITED STATES ATTORNEY
                                                 By: /s/ Jason Hitt*_______
27                                                   JASON HITT
                                                     Assistant U.S. Attorney
28
     STIPULATION AND [PROPOSED] ORDER TO AMEND CONDITIONS                                       1
     OF RELEASE
        Case 2:12-cr-00148-KJM Document 106 Filed 10/07/14 Page 2 of 2


 1                                                   *Signed with permission
     Dated: October 6, 2014                      /s/ David W. Dratman
 2                                               DAVID W. DRATMAN
 3                                               Attorney for Defendant
                                                 LINSEY MOORE
 4

 5
                                          ORDER
 6
             It is so ordered.
 7

 8
     Dated: October 7, 2014
 9                                                  _____________________________________
                                                    CAROLYN K. DELANEY
10                                                  UNITED STATES MAGISTRATE JUDGE
11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
     STIPULATION AND [PROPOSED] ORDER TO AMEND CONDITIONS                                   2
     OF RELEASE
